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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,                              Case No. 19-cv-2184
 United States Department of Justice
 Consumer Protection Branch
 450 5th St. NW, Suite 6400                             PLAINTIFF’S CONSENT MOTION
 Washington, DC 20001                                   FOR ENTRY OF STIPULATED
                                                        ORDER FOR CIVIL PENALTY,
                      Plaintiff                         MONETARY JUDGMENT, AND
                                                        INJUNCTIVE RELIEF AND
                      v.                                MEMORANDUM IN SUPPORT

 FACEBOOK, Inc.,
 1 Hacker Way
 Menlo Park, CA 94025

                      Defendant.




       On July 24, 2019, the United States of America, acting upon notification and authorization

to the Attorney General by the Federal Trade Commission (“FTC”), filed its Complaint for Civil

Penalties, Injunction, and Other Relief against Facebook, Inc. (“Facebook”). The parties have

reached a settlement of the Complaint’s allegations and memorialized those terms in the attached

proposed Stipulated Order for Civil Penalty, Monetary Judgment, and Injunctive Relief (“Stipulated

Order”). The Stipulated Order requires Facebook to pay a $5 billion civil penalty and imposes

significant injunctive relief, primarily in the form of an amended administrative order that will be

entered by the FTC.

       The United States respectfully requests that, as soon as practicable, this Court enter the

Stipulated Order and effectuate the comprehensive settlement negotiated by the parties. As

discussed below, the Stipulated Order is fair to its beneficiaries and is consistent with the public


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interest, especially for the approximately 210 million American consumers with Facebook accounts

and the millions more who interact daily with Facebook-owned companies.

       The United States has conferred with Facebook regarding this motion. Facebook consents

to the request for the Court to enter the Stipulated Order.

                                         BACKGROUND

       Facebook operates a website (www.facebook.com) and smartphone application (“app”) that

allow Facebook users to connect with “Friends.” In 2012, Facebook settled allegations that its

information-sharing practices and privacy settings were deceptive trade practices under Section 5

of the FTC Act by consenting to entry of an FTC administrative order (the “2012 Order”). In the

2012 Order, Facebook agreed, among other things, not to “misrepresent in any manner, expressly

or by implication, . . . the extent to which a consumer can control the privacy of any covered

information maintained by [Facebook] and the steps a consumer must take to implement such

controls; [and] the extent to which [Facebook] makes or has made covered information accessible

to third parties.” Order §§ I.B, C, In the Matter of Facebook, Inc., Dkt. No. C-4365, 2012 FTC

LEXIS 135 (July 27, 2012). Facebook also agreed to maintain a privacy program reasonably

designed to address the risks of giving app developers access to user data.

       The Complaint here alleges that Facebook violated the 2012 Order in multiple ways: (1) by

maintaining deceptive settings that misled users about how to protect their information from being

shared by Facebook with third-party developers of apps used by their Facebook Friends (Compl.

Counts 1, 2); (2) by promising to stop giving app developers access to the data of app users’ Friends

starting in 2014, when in fact many app developers continued to have such access past that date,

with access for some lasting through June 2018 (id. Count 3); (3) by inconsistently enforcing its

privacy policies against app developers who violated those policies, taking less severe action against




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app developers that generated significant revenue for Facebook (id. Count 4); and (4) by implying

to approximately 60 million users that they could “turn on” facial-recognition technology associated

with their posted photos and videos when, in fact, that technology was “on” for those users by

default (id. Count 5). In Count 6, the Complaint further alleges that Facebook violated Section 5 of

the FTC Act by using phone numbers provided to enable two-factor authentication—an enhanced

account-security tool—for advertising purposes.

       Following extensive negotiations, the parties have settled the Complaint’s allegations by the

Stipulated Order. In addition to imposing a $5 billion civil penalty—the largest civil penalty ever

awarded in an FTC enforcement action—the Stipulated Order requires Facebook to consent to the

reopening of the FTC’s earlier administrative proceeding against it so the FTC can replace the 2012

Order with an Amended Order, which is Attachment A to the Stipulated Order. The Amended

Order, which would remain in effect for 20 years, contains substantial new compliance terms

drafted to ensure that Facebook and Facebook-controlled companies, such as WhatsApp and

Instagram, improve their data-privacy practices, account for privacy concerns on an ongoing basis,

and have regular reporting obligations. The Stipulated Order also gives the Department of Justice

and the FTC authority to monitor and enforce Facebook’s compliance with the Amended Order.

                                           ARGUMENT

       This Court’s “role in evaluating the reasonableness of a proposed consent order is limited.”

See Citizens for a Better Env’t v. Gorsuch, 718 F.2d 1117, 1125-26 (D.C. Cir. 1983). As a district

court has “power to enter a consent decree without first determining that a statutory violation has

occurred,” id. (citing Swift & Co. v. United States, 276 U.S. 311, 327 (1928)), its duty is only to

“satisfy itself of the settlement’s ‘overall fairness to beneficiaries and consistency with the public

interest,’” id. (quoting United States v. Trucking Emps., Inc., 561 F.2d 313, 317 (D.C. Cir. 1977)).




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In approving a settlement, this Court “need not inquire into the precise legal rights of the parties nor

reach and resolve the merits of the claims or controversy.” In re Idaho Conservation League, 811

F.3d 502, 515 (D.C. Cir. 2016) (quoting Metro. Hous. Dev. Corp. v. Vill. of Arlington Heights, 616

F.2d 1006, 1014 (7th Cir. 1980)). Rather, this Court “need only determine that the settlement is

fair, adequate, reasonable and appropriate under the particular facts and that there has been valid

consent by the concerned parties.” Id.

       The proposed settlement memorialized in the Stipulated Order is fair, adequate, reasonable,

and appropriate. The proposed settlement has two main components: a civil penalty award and

injunctive relief imposing new compliance terms on Facebook. Each component secures strong,

pro-consumer relief and reflects months of intense negotiations following a detailed investigation

of Facebook’s conduct.

       The negotiated civil penalty is the largest civil penalty ever obtained by the United States

on behalf of the FTC—the previous record was $168 million, or only 3.4 percent of the proposed

settlement here. Indeed, the civil penalty is the second largest obtained by the United States in any

context. The FTC tied its calculation of the range of civil penalties it sought in this matter to the

public’s approximately 900 million views of Facebook webpages containing allegedly deceptive

statements about data privacy, equating each view to an alleged violation of the 2012 Order. The

resulting settlement obtains a penalty of approximately $5.56 per alleged violation, an amount that

is commensurate with—in fact, greater than—civil penalties obtained in contested cases similarly

involving millions of FTC Act violations by large corporations. See United States v. Dish Network,

256 F. Supp. 3d 810, 991 (C.D. Ill. 2017) ($168 million civil penalty on 66 million FTC Act

violations, or $2.54 per violation); United States v. Reader’s Digest Ass’n, Inc., 662 F.2d 955, 959-




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60 (3d Cir. 1981) (affirming $1,750,000 civil penalty for 17,940,521 violations of FTC consent

order, or approximately $0.10 per violation).

       The injunctive relief set forth in the Stipulated Order and attached Amended Order also is

historic in its scope and significance to American consumers. Structured in a manner consistent

with the government’s broad discretion to determine the most advantageous form for securing

negotiated relief, see United States v. Fokker Servs. B.V., 818 F.3d 733, 744 (D.C. Cir. 2016)

(consent orders should be reviewed by the district court in a manner that “avoid[s] encroaching on

the Executive’s core discretion over enforcement decisions”), the injunctive-relief provisions

articulate specific but flexible compliance terms designed to ensure that Facebook and its controlled

companies protect user data and offer clear user notifications and controls. For example, the

injunctive-relief provisions:

   •   expand protections for consumer information, including any information for which

       there is a Facebook privacy setting, as well as sensitive personal and financial

       information;

   •   prohibit misrepresentations regarding the “use” of protected information;

   •   require Facebook to select an independent assessor, approved by the government, to

       monitor its compliance with the Amended Order;

   •   require Facebook to submit to the government privacy-review reports for every new

       or modified product, service, or practice that it considers implementing;

   •   require Facebook to create an Independent Privacy Committee of its Board of

       Directors, with members designated through an independent nominating committee

       established by Facebook;

   •   mandate annual CEO certifications of compliance with the Amended Order;



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   •   require Facebook to submit a prompt written report to the government and the

       independent assessor about any incident in which the information of 500 or more

       users was accessed by a third party in violation of Facebook’s policies;

   •   add important recordkeeping requirements related to third-party access to protected

       user information; and

   •   empower the government to conduct full discovery to investigate concerns regarding

       non-compliance with the injunctive relief.

       Taken as a whole, the proposed settlement is thus fair, adequate, meaningful, and represents

a significant achievement for American consumers. It addresses the issues that gave rise to the FTC

investigation in an effective and efficient manner, obtaining immediate relief and a massive civil

penalty. The injunctive provisions of the settlement also are carefully calibrated to ensure the

privacy of Facebook users’ data over the course of the next two decades, to prevent further incidents

of unauthorized data sharing as much as possible, and to allow for the taking of speedy and adequate

measures if user data is inadvertently compromised. These provisions, which do not exist today,

are plainly in the public interest, as they directly affect the privacy choices of 210 million Americans

with Facebook accounts and millions more who interact with Facebook-controlled companies. See

United States v. W. Elec. Co., 900 F.2d 283, 309 (D.C. Cir. 1990) (holding that the district court’s

function in deciding whether to approve a consent decree “is not to determine whether the resulting

array of rights and liabilities is the one that will best serve society, but only to confirm that the

resulting settlement is within the reaches of the public interest” (emphasis in original)). At the very

least, the negotiated terms of the proposed settlement are sufficient to allow this Court to enter the

Stipulated Order. See Fokker Servs., 818 F.3d at 743 (holding that “a district court should not ‘reject

a consent decree simply because it believes the [g]overnment could have negotiated a more exacting



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decree,’ Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1237 (D.C. Cir. 2004), or because it

believes the government ‘failed to bring the proper charges,’ SEC v. Citigroup Global Mkts., Inc.,

752 F.3d 285, 297 (2d Cir. 2014)”).

       The settlement negotiated through the Stipulated Order also avoids a “protracted

examination of the parties’ legal rights,” and both the parties and the public will “benefit from the

saving of time and money that results from the voluntary settlement of litigation.” Citizens for a

Better Env’t, 718 F.2d at 1126. Having already undertaken a lengthy investigation and period of

negotiation, the parties support entry of the Stipulated Order.

                                          CONCLUSION

       For the foregoing reasons, the United States respectfully requests that the Court enter the

attached Stipulated Order.




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